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  Counsel for De Lage Landen Financial Services, Inc.


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


  In re:                                              :       Chapter 11
                                                      :
  SHAPES/ARCH HOLDINGS, LLC, et al.,                  :       Case No. 08-14631 (GMB)
                                                      :       (Jointly Administered)
           Debtors.                                   :
                                                      :       Hearing Date:
                                                              June 16, 2008 at 10:00 a.m.

                              CERTIFICATION OF SERVICE

           David W. Phillips, Esq., attorney for De Lage Landen Financial Services, Inc.

  certifies as follows:

           1.     I am attorney for De Lage Landen Financial Services, Inc. in this case and

  am fully familiar with the facts of this case.

           2.     On May 21, 2008, I caused a true and complete copy of the NOTICE OF

  MOTION OF DE LAGE LANDEN FINANCIAL SERVICES, INC. FOR AN ORDER

  (1) GRANTING RELIEF FROM THE AUTOMATIC STAY PROVISIONS OF 11
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  U.S.C. § 362(a), the VERIFIED MOTION OF DE LAGE LANDEN FINANCIAL

  SERVICES, INC. FOR AN ORDER GRANTING RELIEF FROM THE AUTOMATIC

  STAY PROVISIONS OF 11 U.S.C. § 362(a), and all Exhibits thereto, to be served by

  first class mail upon the following:



          Shapes, LLC                            Jerrold N. Poslusny
          9000 River Road                        COZEN O’CONNER
          DeLair, NJ 08110                       Liberty View, Suite 300
                                                 457 Haddonfield Road
                                                 Cherry Hill, NJ 08002
          Donald F. McMaster                     Michael D. Sirota
          Office of the United States Trustee    COLE, SHOTZ, MEISEL, FOREMAN &
          One Newark Center                      LEONARD
          Suite 2100                             25 Main Street
          Newark, NJ 071102                      Hackensack, NJ 07601
                                                 Counsel for the Official Joint Committee of
                                                 Unsecured Creditors


         I hereby certify that the foregoing statements by me are true. I am aware that if

  any of the statements made by me are willfully false, I am subject to punishment.


  DATED: May 21, 2008

                                                /s/
                                                David W. Phillips, Esq. (DP 2099)
                                                Two Penn Plaza East
                                                Newark, New Jersey 07105
                                                Telephone: (973) 491-3600
                                                Facsimile: (973) 491-3555
                                                Counsel for De Lage Landen Financial
                                                Services, Inc.




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